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REQUEST FOR WARRANT UPON FILING OF AN INDICTMENT

TO: Clerk, United States District Court
District of North Dakota

The Grand Jury returned an Indictment on July 15, 2020, against SARAH
ANN CARLSON, a/k/a RAH RAH, charging the following:

18 U.S.C. §§ 371 and 1951(a) — Conspiracy to Interfere with Commerce by Threats

and Violence — Hobbs Act Robbery
18 U.S.C. § 1951(a) — Interference with Commerce by Threats and Violence — Hobbs

Act Robbery
18 U.S.C. § 924(c)(1) — Use of a Firearm During and in Relation to a Crime of

Violence
18 U.S.C. § 2 — Aiding and Abetting

 

It is requested that you prepare and deliver to the United States Marshal for
the District of North Dakota a warrant directed to the above-named defendant.

The United States will not be in a position to recommend conditions

of release until it has reviewed the bond study to be performed by Pretrial Service;

[| The United States recommends that:

 

[| bail be set at $
[| defendant be detained without bail.

COMMENTS:

Dated: Tidy / 2 LO YO

 

 

DREW H. WRIGL \}
United States Atto
